                                                                                    CLERK'S OFFICE U.S.DISTRICT COURT
                                                                                             ATABINGDON,VA
                                                                                                  FILED
A0 91(Rev.11/11) Cri
                   minalComplaint
                               U NITED STATES D ISTRICT C OURT                                           1 2212
                                                        forthe                                 JUUA      DUD   .CLERK
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               United StatesofAmerica

                           M.                                    CaseNo././4 G J 57
                  JAkES u.JORDAN
                      De#ndantls)

                                          C RIM IN A L C O M PLA IN T
        1,thecomplainantin thiscase,statethatthefollowing istruetothebestofmy knowledgeand belief.
Onoraboutthedatets)of                   May 10,2019         inthecounty of                 WFI-HE              inthe
   W estern    Districtof           '   Virgini
                                              a     ,thedefendantts)violated:
           CodeSection                                              OffenseDescr+tion
18 U.S.C.113                             Assaultwith intentto com m itm urder
18 U.S.C .1111                           M urder




        Thiscrim inalcomplaintisbased on thesefacts:
See attached Affidavi
                    t.




        W continuedontheattachedsheet.

                                                                                 Complainant'
                                                                                            ssigna

                                                                           Micah J.Childers,SpecialAgentFBI
                                                                                  Printednameand title

Sworntobeforeme and signed in my presence.


Date:s/,,Itq                                                                        Judge'
                                                                                         ssignature

City and state:                 Abingdon,Virgini
                                               a                     Pamela Meade Sargent,U.S.MagistrateJudge
                                                                                  Printednameand title



         Case 1:19-mj-00057-PMS Document 1 Filed 05/13/19 Page 1 of 6 Pageid#: 1
                  IN THE UNITED STATES DISTW CT COURT FOR THE
                          W ESTERN DISTRICT OF VIRGW IA
                               A BIN GD ON D IV ISIO N

IN THE M ATTER OFTHE ARREST OF: )
JAM ES JORDAN                   )
                                )                                 CaseNo.

                        AFFIDAVIT IN SUPPO RT OF CRIM INAL
                         COM PEAINT AND ARREST W ARRANT

1.      1,M icah J.Childers,beingfirstduly sworn,hereby deposeand state asfollows:

                     INTRODUCTION AND AGENT BACK GROUND

2.      Inm an investigative law erlforcem entofficeroftheUnited Stateswithin them eaning of

Seétion2510(7)ofTitle18,UnitedStatesCode,andnm empoweredby 1aw toconduct
investigationsand to m ake arrestsforthe offensesenllm erated in Section 2516 ofTitle 18,

United StatesCode.

3.      Ihavebeen em ployed asa.specialAgentwith theFBIforapproxim ately 8 years.Iam

currentlyassignedtotheRichmondDivision,BristolResidentAgency(B11A),locatedinBristol,
Virginia. Priorto working in theBRA.,Iwasassignedto the AtlantaDivision,RomeResident

Agency(R1tA),locatedinRome,Georgia,andwasthecoordinatorfortheNorthwestGeorgia
Crim inalEntezw iseTask Force,an FBlSafeStreetTask Force,investigatingviolentcrimes,

illegalnarcoticstrafficking,and illegalgang activity. 1have served asthecase agenton multiple

terrorism investigations,to includea dom estictelw rism investigation involving explosive

devices.1havetaken partin nllm erousfederal,state,and localinvestigationsconcem ing

intem ationaland dom esticterrorisp ,docum entand identity fraud,financialfraud,cybercrim es,

controlled substance violations,public com zption,civilrightsviolationsand firearmsoffenses.



                                               1

     Case 1:19-mj-00057-PMS Document 1 Filed 05/13/19 Page 2 of 6 Pageid#: 2
4.        Thefactsin thisaffidavitcom efrom my personalobservations,m yt'
                                                                        raining and

experience,and information obtained from otheragentsandw itnesses.Thisaffidavitisintended

to show simplythatthere issuftk ientprobable causefortherequested warrantand doesnotset
                                                           '
                                  .
                                                               l
forth a1lofm y knowledgeaboutthism atter.

          Based on thefactsassetforth in thisaffidavit,thereisprobablecauseto believethata

violationof18U.S.C.jj7,113(qssaultwithintenttocommittomurderwithinthespecial
mmitimeandtenitorialjurisdictionoftheUnitedStatesl;& 1111(murderwithinthespecial
maritimeandterritorialjurisdictionoftheUnite'dStates),hasbeen committedbyJnmesL.
Jordan(G:Jordan'').

                                       JU RISDIC TIO N

6.        ThisCourthasjurisdiction.toissuetherequestedwarrantbecauseitis;<acourtof
competentjurisdiction''asdefinedby 18U.S.C.j2711.Specifically,theCourtisG1adistrict
courtoftheUnitedStates...that-hasjtlrisdictionovertheoffensebeinginvestigated.''18
      h

U.S.C.j2711(3)(A)(i).

                               STA TEM E N T O F PR O BA BLE C A U SE

          OnM ay 10,2019,Jordanapproachedfourhikers(Hiker#1,Hiker#2,Victim #1,and
Victim #2)inSmythCounty,VirginiaontheAppalachian Trail,locatedwithintheGeorge
W ashington and Jefferson NationalForest.Jordan wasknown by the hikersasa suspicious

person through socialm ediaasare
                               'sultofan incidentin April2019in UnicoiCotmty,

Tennessee,in which Jordan had allegedly threatened hikerson theAppalachian Trail. W hen

Jordan approachedthefourhikershewasacting disturbed and unstable,andwasplaying his

guitarand singing.




     Case 1:19-mj-00057-PMS Document 1 Filed 05/13/19 Page 3 of 6 Pageid#: 3
8.      Laterthatevening Hiker#1, Hiker#2,Victim #1,andVictim //2 m adecamp in the
                                 .




W ytheCounty,Virginia section oftheAppalachian Trail,also located within theGeorge

W ashington and Jefferson NationalForest.Jordan began random ly approaching thehikers'

tents,making noisesand threaterlingthehikers. Jordan spoketo thehikersthrough theirtents.
                                                                     .




and threatened topourgasolineon theirtentsand bul'n them to death.

        Allfourhikersdecided topack and leavethecnmpsitedueto afearofJordan.Asthey

triedto leavethecam psite,Jordan approachedthem with alcnife.Hiker#1and Hiker//2 ran and

Jordan gàve chase.Jordan returned to the cnmpsiteand approached Victim #,1and Victim //2

again and began verbally arguing with Victim #1. Victim #2 watchedasJordan began stabbing

Victim //1in theupperpartofthebody. Victim //2watchedVictim //1falltothe ground,at

which pointshe ran. Victim #2 began totire atwhich pointJordan caughtup withher. She

turned tofaceJordan and raised hernrmsasifto surrenderwhen Jordan began stabbing herand

shereceived multiplestab wounds.Victim #2 fellto thegrolmd and played dead,atwhich point

Jordan leftto find M sdog.Victim #2then ran down thetrailtowardsSmyth County. Victim //2

received assistancefrom am ale and fem ale hikerwho assisted in helping herhike an additional6

m ilesinto Smyth Cotmty wherethey called 911.

10. Atapproximately2:30a.m.onM ay 11,2019,theW ytheCotmtyjointdispatch911
centerreceiveda 911callfrom am ale and fem alehiker,prestlm ed to beHiker//1and Hiker#2,

who saidthey werebeing chased by am an with am achete.At3:12 a.m .,the Smyth Cotmty 911

centerreceiveda 911callf'
                        rom Viçtim #2 advising oftheattack on her.Victim //2 was

transported totheBristolTN M edicalCenter.

11.    Atapproxim ately 6:14 mm .on M ay 11,2019,theW ytheCotmty SheriffsOftk etactical

tenm enteredthecnmjsitewheretheinitialattackbegan.OfficerstookJordanintocustodyand

                                              3

     Case 1:19-mj-00057-PMS Document 1 Filed 05/13/19 Page 4 of 6 Pageid#: 4
observed som eblood stainson hisclothing.

12.   Victim #1wasfound by 1aw enforcem entand pronounced dead atthelocation ofthe

attack.

13.   Victim //2 wasinterviewed on M ay 11,2019,atBristolRegionalM edicalCenterby an

investigatorwith theSmyth County SheriY sOfficeandidentifiedJordan astheindividualwho

had attacked herandVictim #1. Victim #2had visibleptmcturewotmdsand woundsconsistent

with being stabbed.

14.   Hiker//1and Hiker#2 wereinterdewed by investigatorswith the Sm yth County

SheriffsOffice on M ay 11,2019.Both identified Jordan asbeingtheindividualwho had

approached and chasedthem with'
                              aknifeandhad apicmreon acellularphoneofJordan from

hispriorincidentin Tennessee.

      Law enforcem entlocated a knifein eloseproximity tothebody ofVictim #1.

16.   The GeorgeW ashington and JeffersonN ationalForestisproperty oftheUnited States

ForestServiceandiswithinthetenitorialjurisdiction oftheUnitedStates. W ytheCountyand
Smyth County,VirginiaarelocatedwithintheW estem DistrictofVirginia.
                                     CONCLUSION
17.   Based on theaforem entioned factualinform ation and my trairling and experiencein

crim inalinvestigations,Isubm itthatprobablecause existsto concludethatJnm esL.Jordan did

comm itassaultwith intenttocomm itto murderwithin thespecialm aritim eand tenitorial

jurisdiction oftheUnitedStatèsanddidcommitmtlrderwithinthespecialmmitimeand
tenitorialjurisdictionoftheUnited Statesinviolation of18U.S.C.jj7,113,& 1111.


      FU RTH ER THE A FFIAN T SA W TH N O T


                                             4

   Case 1:19-mj-00057-PMS Document 1 Filed 05/13/19 Page 5 of 6 Pageid#: 5
                                              Respect     bm i d,

                                                 cialA gentM ICA H J. LDER S
                                              FederalBtzreau ofInvestigation



      Subscribedandsworntobeforemeon           /               ,2019



 onorable PA M ELA M EA D E SA R   T
Urzited StatesM agistrateJudge



Seen by: chary T.Lee,A U SA




                                       j
   Case 1:19-mj-00057-PMS Document 1 Filed 05/13/19 Page 6 of 6 Pageid#: 6
